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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION
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  UNITED STATES OF AMERICA                               CRIMINAL ACTION NO. 19-0003-02

  VERSUS                                                 JUDGE DONALD E. WALTER

  RODERICK DEWAINE HOGAN                    MAGISTRATE JUDGE HORNSBY
  ______________________________________________________________________________

                                     MEMORANDUM ORDER

         Before the Court is a Motion to Withdraw Guilty Plea filed by the defendant, Roderick

  Dewaine Hogan (“Hogan”). See Record Document 431. The Government has opposed the

  motion. See Record Document 433.

         A defendant does not have an absolute right to withdraw his guilty plea. See United States

  v. Powell, 354 F.3d 362, 370 (5th Cir. 2003). When a defendant requests to withdraw his plea

  before sentencing, he must show “a fair and just reason” for his request. Fed. R. Cr. P. 11(d)(2)(B);

  Powell, 354 F.3d at 370. To determine whether a fair and just reason has been shown, the Court

  must consider the factors set forth in United States v. Carr, 740 F.2d 339, 343-44 (5th Cir. 1984).

  These factors include whether: (1) the defendant has asserted his innocence, (2) the Government

  would be prejudiced, (3) the defendant delayed in requesting the withdrawal, (4) the Court would

  be substantially inconvenienced, (5) the close assistance of counsel was available, (6) the plea was

  knowing and voluntary, (7) the withdrawal would waste judicial resources and, “as applicable, the

  reason why defenses advanced later were not proffered at the time of the original pleading, or the

  reasons why a defendant delayed in making his withdrawal motion.” Id. If, after applying these

  factors, the defendant has alleged facts that would justify relief, this Court must hold an evidentiary

  hearing on the matter. See Powell, 354 F.3d at 370.
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         In the instant matter, on October 22, 2019, Hogan entered a voluntary and knowing guilty

  plea to Count 1 of the Superseding Indictment, charging him with conspiring with others to possess

  with intent to distribute 50 grams or more of methamphetamine. See Record Documents 286 and

  430. At the plea hearing, this Court discussed the plea agreement, the elements of each offense,

  the burden of proof, and the consequences of pleading guilty. See id. Hogan stated, under oath,

  that he understood the charges and the consequences of pleading guilty, that he was not coerced

  into pleading guilty, and that he was satisfied with his representation, in accordance with Federal

  Rule of Criminal Procedure 11. See id.

         Over eleven months later, on October 1, 2020, the defendant filed the instant motion to

  withdraw his plea, alleging that his counsel had a conflict of interest that impacted his

  representation, and that his Sixth Amendment rights were violated when his counsel did not advise

  him that he would not receive a one-point offense level reduction, falsely advised him that he

  would receive a five-year sentence, and misled him into believing he was pleading guilty to charges

  relating solely to some undercover buys. See Record Document 431. Hogan made none of these

  arguments prior to the filing of this motion.

         Hogan has produced no evidence that his counsel had a conflict of interest, that his Sixth

  Amendment rights were violated, or that he was coerced into pleading guilty. This Court provided

  Hogan with an opportunity during the plea colloquy to inform the Court if he had been threatened

  or forced to plead guilty. Hogan replied, “No, sir.” Record Document 430 at 7. The Court is

  permitted to make a strong presumption of truth regarding statements made by a defendant during

  a plea colloquy. See United States v. Martinez-Molina, 64 F.3d 719, 733 (5th Cir. 1995).

  Furthermore, the Fifth Circuit has clearly provided that the rule allowing withdrawal of a guilty

  plea “was not intended to allow a defendant to withdraw his guilty plea simply because he has



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  changed his mind after further reflection.” United States v. Daniel, 866 F.2d 749, 752 (5th Cir.

  1989). Based on the totality of the Carr factors as briefed by both Hogan and the Government and

  reviewed by this Court, Hogan has not met his burden of establishing a fair and just reason to

  justify withdrawal of the plea.

         Accordingly, Hogan’s request for a hearing on the motion to withdraw his plea is

  DENIED, and, having considered the motion,

         IT IS ORDERED that the Motion to Withdraw the Guilty Plea is DENIED. Sentencing

  will proceed as scheduled.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 20th day of October, 2020.



                                                     ____________________________________
                                                           DONALD E. WALTER
                                                     UNITED STATES DISTRICT JUDGE




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